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                        IN THE UNITED STATES DISTRICT COURT

                         FOR THE EASTERN DISTRICT OF TEXAS

                                    BEAUMONT DIVISION


 UNITED STATES OF AMERICA                        §
                                                 §
 V.                                              §             NO. 1:08-CR-11
                                                 §
 KENNETH WAYNE MITCHELL                          §



        ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT


        On this day, the Court considered the Findings of Fact and Recommendation on Guilty Plea

 of United States magistrate judge Earl S. Hines regarding defendant’s plea of guilty to Count II of

 the Indictment in the above-numbered case. Having conducted a proceeding in the form and manner

 prescribed by Fed. R. Crim. P. 11, the magistrate judge recommends that the court conditionally

 accept the plea agreement and the guilty plea of Defendant.


        The parties have not objected to the magistrate’s findings. The Court is of the opinion that

 the Findings of Fact and Recommendation on Guilty Plea should be accepted. It is, therefore,

 ORDERED that the Findings of Fact and Recommendation on Guilty Plea of the United States

 Magistrate Judge are ADOPTED. Defendant’s plea agreement is conditionally ACCEPTED by

 the Court at this time. It is further ORDERED that, in accordance with Defendant’s guilty plea and

 the magistrate judge’s findings and recommendation, Defendant, Kenneth Wayne Mitchell, is hereby

 adjudged as guilty on Count 2 of the charging Indictment, charging violations of Title 21, United

 States Code, Section 841(a)(1).
        So ORDERED and SIGNED this 23 day of May, 2008.




                                                      ___________________________________
                                                      Ron Clark, United States District Judge
